 USDC IN/ND case 1:19-cv-00019-TLS-SLC document 1 filed 01/17/19 page 1 of 6


                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF INDIANA
                             FORT WAYNE DIVISION


RANDELL J. FRAZIER,                                 )
    Plaintiff,                                      )
                                                    )
       v.                                           )      Case No.: ____________________
                                                    )
UNITED STATES OF AMERICA,                           )
     Defendant.                                     )



                    COMPLAINT FOR DAMAGES IN A CIVIL CASE


       Plaintiff, Randell J. Frazier (“Frazier”) by counsel, Sweeney Law Firm, brings this action

against the Defendant, United States of America, and for his Complaint allege and say as follows:

                                           PARTIES

       1.     Frazier is a citizen of Wabash, Indiana.

       2.     The Defendant is the United States of America. At all times relevant hereto, the

United States acted through its agency, the Department of Veterans Affairs (“VA”), its

subdivision, the Veterans Health Administration (“VHA”), and the employees of those agencies.

       3.     At all times relevant hereto, the Defendant employed a podiatrist, Dr. Bradley R.

Hammersley (“Dr. Hammersley”), to provide podiatric medical care and treatment at the Veterans

Administration Northern Indiana Health Care System (“VANIHCS”) in Fort Wayne, Indiana and

Marion, Indiana.

       4.     At all times relevant hereto, Dr. Hammersley was acting within the scope and

course of his employment with the Defendant.
 USDC IN/ND case 1:19-cv-00019-TLS-SLC document 1 filed 01/17/19 page 2 of 6


                                     JURISDICTION AND VENUE

        5.          Because the United States is the Defendant in this case, this Court has jurisdiction

under 28 U.S.C. §1346.

        6.          The United States has waived its sovereign immunity pursuant to 5 U.S.C. §702.

        7.          At all times relevant hereto, Dr. Hammersley was acting within the scope and

course of his employment with the Defendant and was an “employee of the government” as defined

by 28 U.S.C. §2671.

        8.          Because Dr. Hammersley was acting within the scope and course of his

employment as an “employee of the government” at all times relevant hereto, the Defendant is not

entitled to the “Independent Contractor Exception,” pursuant to Edison v. United States, 822 F.3d

510, 2016.

        9.          Because Dr. Hammersley was an “employee of the government” at all times

relevant hereto, the Defendant is not entitled to dismissal for lack of subject-matter jurisdiction

pursuant to Fed. R. Civ. P. 12(b)(1).

        10.         Pursuant to 28 U.S.C. §1391(e)(1), venue is proper within the Northern District of

Indiana Fort Wayne Division because the events or omissions giving rise to this action occurred

in this District.

        11.         Plaintiff has exhausted his administrative remedies pursuant to 28 U.S.C. §2675(a).

        12.         Pursuant to 28 U.S.C. §2675(a), Plaintiff submitted a Standard Form 95 (“SF95”)

to the Veterans Administration on March 9, 2018 detailing his claim against the Defendant.

        13.         On July 20, 2018, the VA sent Plaintiff a letter indicating that his claim was denied

because the “tort claim is barred unless it is presented within two years after the claim accrues, as

provided in section 2401(b), title 28, United States Code (U.S.C.).”
 USDC IN/ND case 1:19-cv-00019-TLS-SLC document 1 filed 01/17/19 page 3 of 6


        14.      Pursuant to 28 U.S.C. §2401(b), Plaintiff files this action “within six months after

the date of mailing, by certified or registered mail, of notice of final denial of the claim by the

agency to which it was presented.”

        15.      Plaintiff first learned that the care provided to him by Dr. Hammersley was

malpractice when he met with VA administrators on March 7, 2018.

        16.      Plaintiff could not have learned that the acts and/or omissions by Dr. Hammersley

were malpractice until he met with the VA administrators on March 7, 2018.

        17.      There is a class-action lawsuit (Colombini et al. v. United States) pending before

this Court to determine whether plaintiffs similarly situated with Frazier can move forward with

their malpractice claims.

        18.      Frazier is currently not a plaintiff in the aforementioned class-action suit.

        19.      Plaintiff will petition this Court to be added as a plaintiff in the aforementioned

class-action suit.

        20.      If this Court approves the addition of Frazier to the aforementioned class-action

suit, Plaintiff respectfully requests that this action be continued until the superseding action has

been resolved.

        21.      All conditions precedent to the filing of this action have occurred, been waived, or

have otherwise been satisfied.

                                     STATEMENT OF CLAIM

        22.      Plaintiff presented to Dr. Hammersley in 2011 for right heel pain.

        23.      Dr. Hammersley diagnosed Plaintiff with “gastric equinus and plantar fasciitis

right,” and recommended surgery.
 USDC IN/ND case 1:19-cv-00019-TLS-SLC document 1 filed 01/17/19 page 4 of 6


       24.     On November 2, 2011, Dr. Hammersley performed a right plantar fasciotomy and

percutaneous Achilles tendon lengthening on Plaintiff.

       25.     Plaintiff participated in physical therapy for the next eight months where he

complained of 7/10 pain for the duration of the therapy.

       26.     On August 16, 2013, Plaintiff had an MRI of the right ankle, which showed bulbous

thickening of the distal Achilles tendon, fraying of the peroneal brevis tendon, subchondral cyst at

the talonavicular joint, an elongated and blunted anterior process of the calcaneus with associated

subchondral cysts, a narrow fibrous bar interposed between the anterior process and large lateral

portion of the navicular, which also shows irregular cortex suggestive of nonosseous

calcaneonavicular coalition.

       27.     According to the VA Institutional disclosure, attached hereto as Exhibit 1, “Dr.

Hammersley performed surgical release of soft tissue structures without an MRI or a full set of

ankle or foot x-rays to confirm his diagnosis.             Therefore, he missed the nonosseous

calcaneonavicular coalition and subchondral cysts that could also be the cause of the patient’s

fasciitis type symptoms. Dr. Hammersley failed to accurately work-up this patient, therefore,

failed to get an accurate diagnosis of this patient.”

       28.     On March 7, 2018, Plaintiff was notified by VA administrators that Plaintiff was

the victim of malpractice at the hands of Dr. Hammersley and that Plaintiff had the right to file a

claim against the VA.

       29.     In the March 7, 2018 Institutional Disclosure, the VA admitted that Dr.

Hammersley committed malpractice in connection with his care and treatment of Plaintiff.

       30.     As a direct and proximate result of the Defendant’s negligence, Frazier has ongoing

damages including, but not limited to, pain and suffering in his right foot and ankle.
 USDC IN/ND case 1:19-cv-00019-TLS-SLC document 1 filed 01/17/19 page 5 of 6


       31.     As a direct and proximate result of the Defendant’s negligence, Frazier has

experienced a loss in quality and enjoyment of life.

       32.     Plaintiff is seeking the applicable elements/categories of damages set forth in

IMCJI 703.

                                    PRAYER FOR RELIEF

       Wherefore, Plaintiff prays for judgment against the Defendant and respectfully requests

compensatory damages that are commensurate with the harm suffered by Frazier and for all losses,

injuries and damages, including the costs of this action and for all other just and proper relief in

this premises. Plaintiff also requests an order continuing any further proceedings in this case until

the aforementioned, superseding class-action suit is decided.

       Pursuant to 28 U.S.C. §2675(b), Plaintiff seeks damages equal to the amount that Plaintiff

presented to the VA in his SF95. If any newly discovered evidence not reasonably discoverable

at the time of the filing of SF95 is discovered, Plaintiff reserves the right to claim damages in

excess of the damages sought in his SF95.

                              CERTIFICATION AND CLOSING

       Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my

knowledge, information, and belief that this complaint: (1) is not being presented for an improper

purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost of litigation;

(2) is supported by existing law or by a nonfrivolous argument for extending, modifying, or

reversing existing law; (3) the factual contention have evidentiary support or, if specifically so

identified, will likely have evidentiary support after a reasonable opportunity for further

investigation or discovery; and (4) the complaint otherwise complies with the requirements of Rule

11.
 USDC IN/ND case 1:19-cv-00019-TLS-SLC document 1 filed 01/17/19 page 6 of 6


                                 Respectfully submitted this 17th day of January 2019,



 “/s/” David L. Farnbauch               “/s/” Nicholas L. King
David L. Farnbauch (#11187-45)          Nicholas L. King (#30709-49)
SWEENEY LAW FIRM                        COWAN AND KING
8019-B Lima Road                        P.O. Box 90379
Fort Wayne, IN 46818                    7414 N. Meridian St.
(260) 420-3137                          Indianapolis, IN 46260
Email: dlfsweeneylawfirm.com            (317) 246-8784
                                        E-mail: nlk@cowanandking.com
